Case 3:02-cv-01265-F.ocument 11 Fi|eo| 07/22/02 Pa’l of 1 PagelD 38

  
 

IN THE UNITED STATES DIS
FOR THE NORTHERN DIST `
DALLAS DIVISIO

]ILL SCOTT AND STUART SCOTT,

lNDIVIDUALLY AND AS NEXT

FRIENDS OF MADISON SCOTT,
Plaintiffs,

Civil ction No.

§
§
§
§
§
§ 3:OZ~CV» 1265»R
§
§
§
§
§
§

ORDER

V.

BAYLOR UNIVERSITY MEDICAL
CENTER d/b/a THE KIMBERLY H.
COURTWRIGHT & ]OSEPH SUMMERS

lNSTITUTE OF METABOLIC DISEASE,
Defendant.

After making an independent review of the pleadings, files, and records in this case and
the Findings, Conclusions, and Recommendation of the United States Magistrate Judge, I arn
of the opinion that the Findings and Conclusions of the Magistrate Judge are correct and they
are adopted as the Findings and Conclusions of the Court. Accordingly, the Plaintiffs’ motion
to remand is GRANTED and the case is REMANDED to the County Court at LaW No. 5 of

Dallas County, Texas.

SIGNED AND ENTERED this 33 day of -`io L.<_,]( , 2002.

UNITQEQQS)\%H§S§I;`S/$/I§g©w) GE

